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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,                  )
                                            )
               v.                           )
                                            ) Criminal Action No. 23-cr-00061-MN
 ROBERT HUNTER BIDEN,                       )
                                            )
                      Defendant.            )


                                          ORDER

       IT IS HEREBY ORDERED that for the reasons stated in the Government’s Opposition to

Defendant’s Motion for Discovery and An Evidentiary Hearing Regarding His Motions to Dismiss

the Indictment, the Defendant’s Motion for Discovery and An Evidentiary Hearing Regarding His

Motions to Dismiss the Indictment (ECF 64) is DENIED.



______________________                                   ______________________________
Date                                                     Hon. Maryellen Noreika
                                                         United States District Judge
